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 4
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 5

 6                            UNITED STATE BANKRUPTCY COURT

 7                  CENTRAL DISTRICT OF CALIFORNIA (LOS ANGELES)

 8

 9   In re TOBY EDWARD TORRES,                          Case No. 2:23-bk-13864-DS
                                                        Chapter 7
10                     Debtor.                          Adv. No. 2:23-ap-
     ____________________________________
11
                                                        COMPLAINT TO DETERMINE DEBTS
12   COMPLETE INDUSTRIAL REPAIR, INC..                  TO BE NON-DISCHARGEABLE
                                                        PURSUANT TO SECTION 523 OF THE
13                         Plaintiff,                   BANKRUPTCY CODE
          vs.
14
     TONY EDWARD TORRES
15

16

17          Plaintiff/Creditor Complete Industrial Repair, Inc. by and through its attorneys herein
18   respectfully submits the following Complaint to Determine Debts to be Non-Dischargeable
19   pursuant to Sections 523 (a)(2)(A) and 523(a)(6) of the Bankruptcy Code. As grounds in

20   support, PLAINTIFF avers and states as follows:

21      1. This adversary proceeding arises out of and is related to Bankruptcy Case No. 2:23-bk-

22          13864 entitled In re Toby Torres, commenced in this Bankruptcy Court by Debtor TOBY

            EDWARD TORRES (“TORRES” or “Defendant”) on June 21, 2023 as a Chapter 7
23
            proceeding.
24
        2. This Bankruptcy Court has jurisdiction over this adversary proceeding pursuant to 28
25
            U.S.C. §§ 157 and 1334.
26

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 1      3. This is an action brought under Rules 7001(6) and 4007 of the Federal Rules of

 2         Bankruptcy Procedure and under 11 U.S.C. § 523 to determine the dischargeability of a

 3         certain debt.

        4. This adversary proceeding is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (I), and
 4
           (J) and this Court can and should enter final judgment and Plaintiff hereby consents to
 5
           entry of final orders or judgment by the bankruptcy judge.
 6
        5. Venue properly lies in this judicial district, in that this adversary proceeding arises under
 7
           Title 11 of the United States Code as provided in 28 U.S.C. § 1409.
 8
                                              THE PARTIES
 9
        6. At all relevant times, Plaintiff was and has existed and operated in the State of California,
10
           County of Los Angeles.
11      7. TORRES resides in this district and is the debtor in this Bankruptcy proceeding.
12                                    GENERAL ALLEGATIONS
13      8. Plaintiff leased the premises located at 7403 Telegraph Road, Montebello, California

14         (hereinafter referred to as the “Premises”). Plaintiff subleased a portion of the Premises

15         to Defendant beginning in or around 2013. Pursuant to that sublease, Defendant paid to

16         Plaintiff $2,500 per month. Defendant subleased its portion of the Premises from

           Plaintiff until November 30, 2016.
17
        9. During Defendant’s sublease, Defendant used the Premises to operate a Blanchard
18
           grinding business. Blanchard grinding is a type of rotary surface grinding that can
19
           remove large amounts of metallic and other other types of material and quickly finish the
20
           surface of a part or other item. Among other equipment, Defendant set up two Blanchard
21
           Grinders to use for grinding and a large water tank to use for rinsing the objects that he
22
           was grinding. He opened a hole in the concrete floor of the Premises in order to make
23
           space to set up the water tank.
24      10. Blanchard Grinding creates hazardous waste materials in the form of dust and small
25         particles, which also contaminates the water which is used to rinse off the objects being
26         grinded. Plaintiff became aware during Defendant’s sublease that Defendant had was

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 1         draining and/or dumping hazardous waste materials into the hole in the concrete floor. In

 2         March of 2016, Plaintiff had the soil in the hole underneath Defendant’s water tank tested

 3         and confirmed that it had been contaminated.

        11. When Defendant gave notice that he would not be renewing the sublease and that he
 4
           would be vacating the premises, Plaintiff (through its owner Norberto Fregoso) discussed
 5
           with Defendant the fact that the area had been contaminated and that Defendant would
 6
           have to have the hole cleaned out, professionally tested to confirm that it was no longer
 7
           contaminated, and then re-fill the hole with concrete. In other words, Plaintiff demanded
 8
           that Defendant leave the property in the same condition as he had found it.
 9
        12. Defendant assued Mr. Fregoso that he would properly clean out the hole and even
10
           showed Mr. Fregoso that Defendant had obtained a state issued temporary ID number for
11         the removal of hazardous waste. However, Defendant then removed the water tank and
12         cemented over the hole without providing Plaintiff with any documentation
13         demonstrating that he had properly cleaned out the hole. Mr. Fregoso again reminded

14         Defendant of the need to have the hole professionally tested to confirm that it was no

15         longer contaminated and demanded that they re-open the hole and have the area

16         professionally cleaned out and tested. Defendant opened up the hole again, but then

           failed to take any further action to clean out, test and fix the hole.
17
        13. On March 28, 2017, Defendant filed a small claims complaint against Plaintiff to recover
18
           his security deposit. Plaintiff responded that Defendant needed to fix the contaminated
19
           hole. On July 14, 2027, the judge handling the small claims action directed the parties to
20
           mediate with one of the court’s volunteer mediators, and the parties reached a settlement
21
           that they placed in writing and signed, stating: “The plaintiff has agreed to repair the
22
           damages in the premises that was shared by both the parties. Upon completion of the
23
           repairs and approval by the owner, the plaintiff will get in touch with owner to get his
24         security deposit back. Owner: S.D. Herman.”
25      14. Plaintiff is informed and believes that Defendant never intended to clean, test and repair
26         the contaminated hole.

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 1      15. Following the small claims “resolution”, Plaintiff continued to follow up with Defendant.

 2      16. For example on July 24, 2017, Mr. Fregoso emailed Defendant: “I haven’t received a call

 3         from your environmental contacts in regards to the repairs. Mr. Gary Sr. ask me when

           the repairs are going to be finished, because we can’t rent the space until the repairs are
 4
           done.” On August 1, 2017, Torres replied “Norberto, I am waiting for the paperwork you
 5
           were suppose to give me after court. Can you fax them to me (562)464-2524” Torres
 6
           was referring to proposals Mr. Fregoso had from environmental cleanup companies for
 7
           testing the hole. On August 3, 2017, Mr. Fregoso emailed Torres two proposals he had
 8
           for testing the soil in the hole. On August 23, 2017, Mr. Fregoso emailed Torres again
 9
           following up on the proposals. However, Defendant did not respond further and did not
10
           retain any company to professionally test the soil in the hole.
11      17. The hole remained open and contaminated, and remains so today.
12      18. As a result, Plaintiff was unable to sublease the Premises in the condition that Defenant
13         left it.

14      19. On January 4, 2022, Plaintiff sued Defendant in Los Angeles Superior Court for

15         damages. Trial was scheduled to commence on June 26, 2023. However, Defendant

16         filed for bankruptcy on June 21, 2023 to avoid the trial, which has accordingly been

           stayed.
17
                                     FIRST CLAIM FOR RELIEF
18
     (Determination of Dischargeability of a Debt – Fraud Pursuant to 11 U.S.C. §§ 523(a)(2)(A)
19
        20. Plaintiff re-alleges and incorporates hereat by this reference paragraphs 1 through 19
20
           above.
21
        21. On each occasion alleged above that Defendant made the statements and promises to
22
           clean, test and repair the contaminated hole, Defendant knew that the factual statements
23
           were false and knew that he had no intention of performing the promises made.
24         Defendant did so with the intent to deceive Plaintiff, and even re-cemented the hole in an
25         attempt to cause Plaintiff to believe that the hole had been fixed.
26

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 1      22. Plaintiff reasonably relied on the false statements and promises of Defenant and did not

 2         have knowledge of their falsity.

 3      23. Plaintiff has been damaged in an amount that has not yet been fully ascertained but which

           exceeds $200,000.
 4
        24. Defendant’s conduct as alleged herein constitutes false pretenses, false representations
 5
           and/or actual fraud as set forth in 11 U.S.C. §§ 523(a)(2)(A) and are therefore non-
 6
           dischargeable.
 7
                                    SECOND CLAIM FOR RELIEF
 8
            (Determination of Dischargeability of a Debt – Willful and Malicious Injury
 9
                                    Pursuant to 11 U.S.C. §§ 523(a)(6)
10
        25. Plaintiff re-alleges and incorporates hereat by this reference paragraphs 1 through 19
11         above.
12      26. Defendant willfully and maliciously drained and/or dumped hazardous waste materials
13         into the hole in the concrete floor, with conscious disregard for Plaintiff, causing Plaintiff

14         to suffer significant damages

15      27. Defendant’s conduct violated California law, including but not limited to the Health &

16         Safety Code as well as California Code of Regulations, division 4.5, title 22.

        28. As a proximate result of Defendant’s conduct, Plaintiff has been damaged in an amount
17
           that has not yet been fully ascertained but which exceeds $200,000.
18
        29. In doing the things alleged herein, Defendant acted with oppression, fraud and malice.
19
        30. Pursuant to 11 U.S.C. §§ 523(a)(6) Defendant’s debts to Plaintiff for the damages caused
20
           are non-dischargeable.
21
                                        PRAYER FOR RELIEF
22
           WHEREFORE, Plaintiff respectfully requests:
23
           1. A judgment in favor of Plaintiff in an amount according to proof;
24         2. An order of this Bankrutpcy Court adjudicating that such judgment is not
25             dischargeable pursuant to Sections 523 (a)(2)(A) and 523(a)(6) of the Bankruptcy
26             Code.

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 1         3. Costs of suit

 2         4. Punitive damages based on Defendant’s intentional and fraudulent conduct

 3         5. Such other and further relief as deemed just and proper.

 4

 5
     Dated: September 20, 2023                              MARCHETTI LAW
 6
                                                                   /s/ Frank E. Marchetti
 7                                                          By: _____________________________
                                                                   Frank E. Marchetti
 8
                                                            Attorneys for Plaintiff Complete Industrial
 9                                                          Repair, Inc.

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